Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

MONTHLY REPORT NOTES AND COMMENTS
Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

25 JAY STREET LLC
United States Bankruptcy Court for the Eastern District of New York
Case Number 23-44083 (ESS)

EXHIBIT A — Explanation to Questionnaire specifically Sections 1-9

4. Did you pay your employees on time?

e There is one employee for this building, the superintendent, who has been paid on
time.
Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

25 JAY STREET LLC
United States Bankruptcy Court for the Eastern District of New York
Case Number 20-44083 (ESS)

EXHIBIT B — Explanation to Questionnaire specifically 10-18

15. Have you borrowed money from anyone or has anyone made any payments on your
behalf?

e The Debtor has borrowed no money other than the outstanding mortgage debt with
Wells Fargo and the SBA Loan.
Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

25 JAY STREET LLC
United States Bankruptcy Court for the Eastern District of New York
Case Number 20-44083 (ESS)

EXHIBIT C — Total Monthly Cash Receipts

Date Tenant Name Rental Income Unit #
See itemization of Cash Receipts in the attached Bank Reconciliation Report

NOTE:
Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

25 JAY STREET LLC
United States Bankruptcy Court for the Eastern District of New York
Case Number 20-44083 (ESS)

EXHIBIT D — Total Cash Disbursements

Date Payee Purpose Amount
See attached itemization of Cash Disbursement in Bank Reconciliation Report

$ 82,027.62

NOTE:
Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

25 JAY STREET LLC
United States Bankruptcy Court for the Eastern District of New York
Case Number 20-44083 (ESS)

EXHIBIT E — Current month unpaid bills

Vendor Name Purpose Amount
See attached A/P Aging Schedule

$ 78,168.93
Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

25 JAY STREET LLC
United States Bankruptcy Court for the Eastern District of New York
Case Number 20-44083 (ESS)

EXHIBIT F — Accounts receivable

Date Tenant Name Total Rental Income Unit #
See attached accounts receivable schedule, which itemizes the total receivable due from
tenants.

Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

ACCOUNTS RECEIVABLE
Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

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ACCOUNTS PAYABLE
Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

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Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

BANK RECONCILIATION
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Case 1-25-44005-€SS DOC LU0-1

25 JAY STREET LLC
FLAGSTAR BANK - OPERATING ACCOUNT
Bank Reconciliation as of June 30th, 2025

Filed Offlifzo Entered O//lifc2o 1 LOL 49

G/L #10015 Acct Number: 29756

Balance per books 06/01/2025 294,455.97

CASH RECEIPTS 193,076.95

Residential Tenant Receipts 127,104.22

Commercial Tenant Receipts 39,966.34

Security Depsoit - i

Addt SD# 510 Kirac Sogutlu 200.00 a4

Addt SD# 405 Dominic landoli 250.00

Addt SD# 505 Lemolab LLC 300.00

Last Month Rent -

Utility Fee# 209 Farrah Rotman 100.00

Utility Fe# 413 Hannabeth Lagerloff 165.00

Property Tax -

Property Tax# 102 The K9 Butcher LLC 2,035.60

Property Tax# 103 Bandit Studio LLC 1,280.45

Property Tax# 101 H.E.A.L NY LLC 10,000.00

Nationwide -

Return Check# 100 Melville House Publishing LLC 11,675.34

RCF# 206 Olivia } Baseman -

Late Fee -

Late Fee# 406 Daniel Liss -

Online Xfer from# 3641 - JES Property Management -

Online Xfer from# 3818 - Alfie Hospitality Group -

CASH DISBURSEMENTS (82,027.62)

Checks # 350327- 350339 8,346.45

NYS DTF PIT 7

NYC Buildings DOB -

Edge Fibernet -

Con Edison 1,995.83

Midland Loan Services (PNC) 60,000.00

Return Check# 100 Melville House Publishing LLC 11,675.34

Online Xfer to# 9588 - JT Capital -

Returned Deposit Fee 10.06

ADJUSTMENTS “
BALANCE PER BOOKS 6/30/2025 ____405,505.30_
Outstanding Checks 1,446.06
ADJUSTED BALANCE: 6/30/2025 406,951.36
BALANCE PER BANK 6/30/2025 406,951.36
Case 1-25-44005-€SS

25 JAY STRET LLC

CASH DISBURSEMENTS JOURNAL
Bank Reconciliation as of June 30th, 2025

Doc LOU-L Filed O/fiifeo Entered Of/illizo LLli01i4yg

PAYABLE TO CHECK DATE CHECK # AMOUNT Note
Kip Jacobs 6/6/25 350327 400.00
Ayala Home Improvement Inc 6/6/25 350328 2,000.00
Lioyd,s Termite & Pest Control Inc 6/13/25 350329 385.00
Edge Fibertnet Inc 6/13/25 350330 53.62
Eastern Elevator of New York 6/13/25 350331 326.63
Clinton Hill Hardware 6/13/25 350332 2,174.63
Kip Jacobs 6/20/25 350333 400.00
Ayala Home Improvement Inc 6/20/25 350334 440.00
Mr T Carting Corp 6/20/25 350335 789.09
Safety Fire Sprinkler 6/20/25 350336 979.88
Eastern Elevator of New York 6/27/25 350337 326.63
Edge Fibertnet Inc 6/27/25 350338 54,78
Kip Jacobs 6/27/25 350339 16.19
TOTAL CHECKS: 8,346.45

Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

25 JAY STRET LLC

SCHEDULE OF OUTSTANDING CHECKS
Bank Reconciliation as of June 30th, 2025

PAYABLE TO CHECK DATE CHECK # AMOUNT Outstanding
Kip Jacobs 1/10/25 350272 68.58 Outstanding
Safety Fire Sprinkler 6/20/25 350336 979.88 Outstanding
Eastern Elevator of New York 6/27/25 350337 326.63 Outstanding
Edge Fibertnet Inc 6/27/25 350338 54.78 Outstanding
Kip Jacobs 6/27/25 350339 16.19 Outstanding

TOTAL OUTSTANDING CHECKS: 1,446.06

Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

Cash Receipt

25 Jay Street LLC
JUNE, 2025
Date Tenants Name Total income Residential Inc Commercial! Inc Other Details Unit #
06/02/25 ||Chioe Kannin 4,200.00 4,200.00 500
06/02/25 ||Anup Daii 5,471.72 3,750.00 414
Nancy P Levy 4,721.72 503
06/03/25 || Morgan R Tracy 13,308.11 3,500.00 200
David M Mendola 4,750.00 201
Pedro Cruz 1,558.11 202
William J Balcom 1,750.00 411
Hadley Potts 1,750.00 411
06/04/25 || Melville House Publishing LLC 11,675.34 11,675.34 Return Check 100
06/04/25 || The K9 Butcher LLC 12,015.60 2,035.60 Property Tax 102
The K9 Butcher LLC 4,680.00 102
Kirac Sogutlu 5,100.00 200.00 Addt$D 510
06/04/25 ||Farrah Rotman 11,915.00 3,250.00 100.00 Utility fee 209
Joshua B Kitts 3,465.00 403
Daniel Liss 5,100.00 406
06/05/25 ||Shay J Grimley 4,685.00 4,685.00 309
06/09/25 ||Bandit Studio LLC 8,280.45 7,000.00 1,280.45 Property Tax 103
06/09/25 ||Dominic landoli 4,800.00 4,550.00 250.00 Addt SD 405
06/10/25 ||Nakgyun Im 3,200.00 1,600.00 409
Jayoon Park 1,600.00 409
06/10/25 ||Olivia J Baseman 6,664.94 1,164.94 206
Kaelan G Boyle 5,500.00 307
06/10/25 ||Elizabeth Cathcart 13,109.45 4,150.00 204
Nomin E Gibert 3,500.00 205
Brian J Whiton 4,500.00 208
Cara Lee Spary 969.45 300
06/10/25 ||Cailan M Jacobus 16,515.00 3,600.00 310
Wiliam C Canty 4,200.00 407
Nicholas A Oxley 4,700.00 408
Hannabeth Lagerlof 3,850.00 165.00 Utility Fea 413
06/10/25 ||Brooklyn Experience Lab LLC 13,500.00 3,350.00 301
Patrick J Gilligan 3,650.00 305
Lemolab LLC 6,500.00 sas
06/12/25 ||Amir G Mustefa 12,050.00 4,200.00 308
Cara Quinonez 3,500.00 4122
Josef A Cohen 3,750.00 S11
Lemolab LLC 300.00 300.00 Addt SD 505

Case 1-25-44005-€SS

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06/12/25 _||Meiville House Publishing LLC 11,675.34 11,675.34 100
06/12/25 || H.E.A.L NY LLC 10,000.00 10,000.00 Property Tax 101
06/20/25 ||Corey L Cano 3,650.00 3,650.00 402
06/30/25 || Nicole c/o H.E.A.L 43,261.00 13,261.00 101
06/30/25. ||David M Mendola 13,100.00 4,750.00 201
Tianai Sun 3,250.00 410
Kirac Sogutlu §,100.00 510
{| Total I 193,076.95 127,104.22 | 39,986.34 26,006.39 ||

Case 1-25-440095-e€SS DOC LUQO-1L Filed O//llico

25 JAY STRET LLC
FLAGSTAR BANK - DIP
Bank Reconciliation as of June 30th, 2025

entered Of//lif2o 1LiOLi 4g

G/L # 10030 Acct Number: 1566

Balance per books 06/01/2025 134,233.10

CASH RECEIPTS 0.00

Residential Tenant Receipts ik

Commercial Tenant Receipts 2

Security Deposit 5

Online Xfer fram# 9756 - 25 Jay Street -

CASH DISBURSEMENTS 0.00

Checks # 1010 -

Overdraft Fee -

Xfer to# 9837 - 77 Box Street Halding Co LLC -

ADJUSTMENTS -
BALANCE PER BOOKS 6/30/25 134,233.10
Outstanding Checks 0.00
ADJUSTED BALANCE: 6/30/25 134,233.10
BALANCE PER BANK 6/30/25 134,233.10

Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

25 JAY STRET LLC

CASH DISBURSEMENTS JOURNAL
Bank Reconciliation as of June 30th, 2025

PAYABLE TO CHECK DATE CHECK # AMOUNT Note

TOTAL CHECKS:
Case 1-25-44005-€SS

25 JAY STRET LLC
SCHEDULE OF OUTSTANDING CHECKS
Bank Reconciliation as of June 30th, 2025

PAYABLE TO

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CHECK DATE CHECK #

AMOUNT

Outstanding

TOTAL OUTSTANDING CHECKS:

Outstanding
Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

RENT ROLL
Case 1-25-440090-e€SS DOC LUQO-L Filed O/f/it/co centered Ufillizo LLli0li4g

25 JAY STREET BROOKLYN, NEW YORK
CURRENT RENT ROLL
As prepared June 30, 2025

Unit Unit Lease Lease
Number Tenant Name Type Monthly Annual Sq Ft Start End $PSF
700 Melville House Publishers Cc $11,675 $140, 104 7,608 03/01/15 02/28/25 $73.82
101 H.E.ALLLC C/O Kimberly Atkinson c $13,261 $159,132 2,300 11/01/20 = 10/31/25 $69.19
102 ‘The K9 Butcher LLC c $4,500 $54,000 2,000 05/01/24 04/30/29. $27.00
103 Bandit Studio LLC Cc $7,000 $84,000 2,746 O9/0117 08/31/25 $30.59
104 Lanningsmith Studio LLC c $7,500 $90,000 5,622 11/01/22 11/30/26 $16.01
Totals 1st Floor (4) Units $43,936 $527,236 14,566 $36.20
200 Zachary Gibson & Morgan Tracy R $3,500 $42,000 600 12/01/24 = 11/30/25 $70.00
201 ~~~ David Mendola R $4,750 $57,000 1,150 11/01/28 10/31/25 $49.57
202 —- Pedro Cruz & Katherine Gordan "OR $1,558 $18,696 1,150 11/01/02 LOFT $16.26
204 Elizabeth Cathcart “oR $4,150 $49,800 1,250 03/24/24 03/31/26 $39.84
205 —_Noinin Gilbert R $3,700 $44,400 1,320 06/01/23 05/31/26 $33.64
206 Olivia Baseman & Mark Allen Veltman * $1,165 $13,960 1,450 01/01/06 LOFT $9.64
207 ~—- Dana Sass R $4,200 $50,400 940 02/01/22 ~=— 04/30/25 $53.62
208 Brian J Whiton R $4,500 $54,000 940 11/01/21 =: 10/31/25 $57.45
209 Farrah Rotman R $3,250 $39,000 600 05/01/25 06/30/26 $65.00
Totals 2nd Floor (9) Units $30,773 $369,276 9,400 $39.28
300 Cara Lee Spany * OR $959 $11,508 2,000 01/04/04 LOFT $5.75
301 Marcus DePaula R $3,350 $40,200 1,400 03/15/14 03/31/25 $28.71
304 Martin Boume - I'm Lucky Pierre * R $1,946 $23,352 1,800 01/01/02 LOFT $12.97
305 Patrick Gilligan R $3,650 $43,800 600 02/28/25 + 02/28/26 $73.00
307 Keelan Boyle & Sarah Lotvin R $5,500 $66,000 1,200 09/01/24 08/31/25 $55.00
308 Amir Mustefa R $4,200 $50,400 900 07/01/24 06/30/25 $56.00
309 Shay Grimley, Ariella Arazi R $4,685 $56,220 900 07/01/22 06/30/25 $62.47
310 Callan Jacobus R $3,600 $43,200 600 08/01/25 (05/31/26 $72.00
Totals 3rd Floor (8) Units $27,890 $334,680 9,400 $35.60
402 Corey Cano R $3,650 $43,800 663 06/01/23 05/31/26 $66.06
403 Joshua Kiitts R $3,465 $41,580 663 05/01/23 04/30/26 $62.71
405 Dominic landoil, Veronica Csak R $4,550 $54,600 4,000 06/01/22 05/31/26 $54.60
406 Daniel Liss R $5,100 $61,200 1,000 04/01/25 = 03/31/26 $61.20
407 Dung Tran R $3,900 $46,800 900 04/01/24 03/31/25 $52.00
408 Nicholas A. Oxley R $4,700 $56,400 4,104 07/01/20 07/31/25 $51.09
409  Nakguyn Im R $3,200 $38,400 662 09/0113 07/31/25 $58.01
410 Miles Thresher R $3,200 $38,400 662 11/01/22 ~~ 11/30/25 $58.01
411 ‘Willian J Balcom & Hadley Potts R $3,500 $42,000 622 07/15/21 07/31/25 $67.52
412 Carla Quinonez R $3,500 $42,000 924 12/01/24 11/30/25 $45.45
413 Hannabeth Lagerlof R $3,850 $46,200 600 09/01/23 ~=—-09/30/25 $77.00
414 Anup Daji R $3,750 $45,000 600 10/15/22 10/31/25 $75.00
Totals 4th Floor (12) Units $46,365 $556,380 9,400 $59.19
"500 **Vacant**" OR $0 $0 1,280 10/01/11 BUYOUT $0.00
- , ' oR $965 $11,580 4,440 01/01/14 LOFT $8.24
‘ oR $1,723 $20,676 1,410 10/01/06 LOFT $14.66
SUPER i SUPER'SUNIT
7
510 Kir = R ee A900 ous 04/01/23: 03/31/25
: 511 iJosefACohen _ R $3,750 800 10/01/24 09/30/25
Totals Fifth Floor (6) Units $18,138 $217,656 9,400
GRAND TOTALS: $167,102 $2,005,220 52,166

Note:
* Denotes Loft Tenants, stablized or below market rents
500 - New Tenant starts 2/10/2025 monthly rent $4,200 per month
